
99 N.Y.2d 527 (2002)
In the Matter of RUTH KOTLER, Deceased. ROSALIND STOPNIK, Respondent; PAULETTE HIRSCH, Appellant.
Court of Appeals of the State of New York.
Submitted September 23, 2002.
Decided November 19, 2002.
Motion, insofar as it seeks leave to appeal from the July 12, 2002 Appellate Division order, dismissed upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution; motion for leave to appeal otherwise dismissed upon the ground that it does not lie from the Appellate Division order dismissing the appeal taken to that Court from the decree entered upon default (see CPLR 5511).
